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 1     P. Kristofer Strojnik, SBN 242728
       pstrojnik@strojniklaw.com
 2     Esplanade Center III, Suite 700
 3     2415 East Camelback Road
       Phoenix, Arizona 85016
 4     415-450-0100 (tel.)
 5
       Attorneys for Plaintiff
 6
                                   UNITED STATES DISTRICT COURT
 7
 8                              CENTRAL DISTRICT OF CALIFORNIA

 9     THERESA BROOKE, a married woman
       dealing with her sole and separate claim,      Case No:
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11                             Plaintiff,             VERIFIED COMPLAINT
12     vs.                                            (JURY TRIAL DEMANDED)
13
       LHO HOLLYWOOD LM LP, a Delaware
14     limited partnership,
15
                               Defendant.
16
              Plaintiff alleges:
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                                                PARTIES
18
              1.      Plaintiff Theresa Brooke is a married woman. Plaintiff is legally disabled,
19
       and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2),
20
       the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the
21
       California Unruh Civil Rights Act. Plaintiff ambulates with the aid of a wheelchair due
22
       to the loss of a leg.
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              2.      Defendant, LHO Hollywood LM LP, owns and/or operates and does
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       business as the hotel Montrose at Beverly Hills located at 900 Hammond Street, West
25
       Hollywood, California 90069. Defendant’s hotel is a public accommodation pursuant to
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       42 U.S.C. § 12181(7)(A), which offers public lodging services. On information and
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       belief, Defendant’s hotel was built or renovated after March 15, 2012.
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 1                                            JURISDICTION
 2            3.     Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42
 3     U.S.C. § 12188.
 4            4.     Plaintiff’s claims asserted herein arose in this judicial district and
 5     Defendant does substantial business in this judicial district.
 6            5.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
 7     in that this is the judicial district in which a substantial part of the acts and omissions
 8     giving rise to the claims occurred.
 9            6.     Pursuant to Arroyo v. Rosas, supplemental jurisdiction is appropriate over
10     Plaintiff’s Unruh claim. On a case-specific analysis, there are no compelling reasons to
11     decline jurisdiction.
12                                            ALLEGATIONS
13            7.     Plaintiff alleges that Defendant’s hotel does not have a compliant access
14     aisle at the passenger loading zone adjacent to the hotel lobby in violation of Sections
15     209 and 503 of the 2010 Standards. An access aisle has specific requirements to be
16     compliant with the Standards: It must be (1) 60 inches wide and at least 20 feet long, (2)
17     it must have an accessible route adjoining it, and (3) it cannot be within a vehicular
18     way. Section 503.3.
19            8.     The requirement for an access aisle at a passenger loading zone is
20     immensely important for a person in a wheelchair such as Plaintiff, as it provides safe
21     access to the entry of the hotel and deters others from placing encumbrances or
22     obstacles there such as a vehicle parking. An access aisle is akin to a cross-walk for
23     pedestrians. Absence of an access aisle where required creates dangerous conditions for
24     a person in a wheelchair such as Plaintiff.
25            9.     Plaintiff formerly worked in the hospitality industry. She and her husband
26     are avid travelers to California for purposes of leisure travel and to “test” whether
27     various hotels comply with disability access laws. Testing is encouraged by the Ninth
28     Circuit.


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 1            10.    Plaintiff traveled to Los Angeles in late October 2023 for testing ADA
 2     compliance and court appearances. She anticipates lodging at and has concrete plans to
 3     lodge at Defendant’s hotel in May 2024, but if she arrives in May, and Defendant has
 4     not remediated, she will not honor the reservation.
 5            11.    During this trip, Plaintiff personally visited Defendant’s hotel.
 6     Defendant’s hotel has a passenger loading zone because pickup and dropoff occurs
 7     there and it is located directly outside of the lobby entrance. There are also design
 8     features showing an intent for utilization as a passenger loading zone. For example,
 9     there is Hotel sign stating “5 Minute Parking for Loading & Unloading Hotel Guests
10     Only” directly in front of the lobby entrance. According to the U.S. Access Board
11     Technical Guidelines on Passenger Loading Zones, passenger loading zones are so
12     common at hotels that even it recognizes “many hotel entrances” have the design
13     features indicating an intent to utilize as PLZs.
14            12.    While at Defendant’s hotel, she discovered that Defendant’s hotel has a
15     barrier to entry to the lobby, which is that the passenger loading zone does not have an
16     access aisle compliant with Section 503.3. It is an absolute requirement to have an
17     access aisle at a passenger loading zone pursuant to Sections 209 and 503. The
18     requirement of an access aisle at a passenger loading zone relates to Plaintiff’s
19     disability of not having one leg and being forced to use a wheelchair because access
20     aisles are required so persons in a wheelchair can maneuver without threat of danger
21     from other vehicles and without other encumbrances obstructing their pathway. The
22     lobby, therefore, is inaccessible to Plaintiff by way of the passenger loading zone
23     because there is no access aisle.
24            13.    Additionally, Defendant’s hotel provides for valet parking in the
25     passenger loading zone area. Section 209.4 of the Standards requires a mandatory
26     access aisle where valet parking services are provided, but Defendant does not provide
27     for an access aisle as indicated above. Accordingly, Defendant also violates Section
28     209.4 because it provides for valet but does not provide for an access aisle.


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 1            14.    Plaintiff gained actual and personal knowledge of a barrier while visiting
 2     Defendant’s hotel (no access aisle at passenger loading zone), and as a result, she was
 3     deterred from entering the hotel both from the barrier and due to the lack of equality.
 4     She anticipates returning to this hotel and has concrete plans to do so in May 2024 (see
 5     above), but she will only lodge at the hotel if Defendant puts the required access aisle
 6     into place. Visiting otherwise would be futile because the lack of the access aisle
 7     represents a barrier to entering the lobby.
 8            15.    It is readily achievable and inexpensive to modify the hotel to provide an
 9     access aisle, which involves painting and measuring tools.
10            16.    Without injunctive relief, Plaintiff and others will continue to be unable to
11     independently use Defendant’s hotel in violation of her rights under the ADA.
12                                     FIRST CAUSE OF ACTION
13            17.    Plaintiff incorporates all allegations heretofore set forth.
14            18.    Defendant has discriminated against Plaintiff and others in that it has
15     failed to make its public lodging services fully accessible to, and independently usable
16     by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §
17     121282(b)(2)(iv) and the 2010 Standards, as described above.
18            19.    Defendant has discriminated against Plaintiff in that it has failed to
19     remove architectural barriers to make its lodging services fully accessible to, and
20     independently usable by individuals who are disabled in violation of 42 U.S.C.
21     §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
22     2010 Standards would neither fundamentally alter the nature of Defendant’s lodging
23     services nor result in an undue burden to Defendant.
24            20.    In violation of the 2010 Standards, Defendant’s hotel passenger loading
25     zone does not have a disability access aisle compliant with Section 503.3 of the
26     Standards.
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 1            21.      Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
 2     as described above, is readily achievable by the Defendant. Id. Readily achievable
 3     means that providing access is easily accomplishable without significant difficulty or
 4     expense.
 5            22.      Defendant’s conduct is ongoing, and Plaintiff invokes her statutory right
 6     to declaratory and injunctive relief, as well as costs and attorneys’ fees.
 7            23.      Without the requested injunctive relief, Defendant’s non-compliance with
 8     the ADA’s requirements that its passenger loading zone be fully accessible to, and
 9     independently useable by, disabled people is likely to recur.
10            WHEREFORE, Plaintiff demands judgment against Defendant as follows:
11                  a. Declaratory Judgment that at the commencement of this action Defendant
                       was in violation of the specific requirements of Title III of the ADA
12                     described above, and the relevant implementing regulations of the ADA;
13
                    b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
14                     36.504(a) which directs Defendant to take all steps necessary to bring its
15                     passenger loading zone into full compliance with the requirements set
                       forth in the ADA;
16
                    c. Payment of costs and attorney’s fees;
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18                  d. Provision of whatever other relief the Court deems just, equitable and
                       appropriate.
19
                                       SECOND CAUSE OF ACTION
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21        24. Plaintiff incorporates all allegations heretofore set forth.

22            25.      Defendant has discriminated against Plaintiff and others in that it has

23     failed to make its public lodging services fully accessible to, and independently usable

24     by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §

25     121282(b)(2)(iv) and the 2010 Standards, as described above.

26            26.      Defendant has discriminated against Plaintiff in that it has failed to

27     remove architectural barriers to make its lodging services fully accessible to, and

28     independently usable by individuals who are disabled in violation of 42 U.S.C.


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 1     §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
 2     2010 Standards would neither fundamentally alter the nature of Defendant’s lodging
 3     services nor result in an undue burden to Defendant.
 4            27.      In violation of the 2010 Standards, Defendant’s hotel valet parking area
 5     does not have a disability access aisle compliant with Section 209.4 of the Standards.
 6            28.      Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
 7     as described above, is readily achievable by the Defendant. Id. Readily achievable
 8     means that providing access is easily accomplishable without significant difficulty or
 9     expense.
10            29.      Defendant’s conduct is ongoing, and Plaintiff invokes her statutory right
11     to declaratory and injunctive relief, as well as costs and attorneys’ fees.
12            30.      Without the requested injunctive relief, Defendant’s non-compliance with
13     the ADA’s requirements that its valet parking area be fully accessible to, and
14     independently useable by, disabled people is likely to recur.
15            WHEREFORE, Plaintiff demands judgment against Defendant as follows:
16                  a. Declaratory Judgment that at the commencement of this action Defendant
                       was in violation of the specific requirements of Title III of the ADA
17                     described above, and the relevant implementing regulations of the ADA;
18
                    b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
19                     36.504(a) which directs Defendant to take all steps necessary to bring its
20                     valet parking area into full compliance with the requirements set forth in
                       the ADA;
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                    c. Payment of costs and attorney’s fees;
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23                  d. Provision of whatever other relief the Court deems just, equitable and
                       appropriate.
24
                                         THIRD CAUSE OF ACTION
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26            31.      Plaintiff realleges all allegations heretofore set forth.
27            32.      Defendant has violated the Unruh by denying Plaintiff equal access to its
28     public accommodation on the basis of her disability as outlined above.


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 1            33.      Unruh provides for declaratory and monetary relief to “aggrieved
 2     persons” who suffer from discrimination on the basis of their disability.
 3            34.      Plaintiff has been damaged by the Defendant’s non-compliance with
 4     Unruh.
 5            35.      Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other
 6     relief as the Court considers appropriate, including monetary damages in an amount of
 7     $4,000.00, and not more.
 8            36.      Pursuant to Unruh, Plaintiff is entitled to attorney’s fees and costs in an
 9     amount to be proven at trial.
10            WHEREFORE, Plaintiff demands judgment against Defendant as follows:
11                  a. Declaratory Judgment that at the commencement of this action Defendant
                       was in violation of the specific requirements of Unruh; and
12
13                  b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
                       36.504(a) which directs Defendant to take all steps necessary to bring its
14                     passenger loading zone into full compliance with the requirements set
15                     forth in the ADA;

16                  c. Payment of costs and attorney’s fees;
17                  d. Damages in the amount of $8,000.00; and
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                    e. Provision of whatever other relief the Court deems just, equitable and
19                     appropriate.
                                       DEMAND FOR JURY TRIAL
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              Plaintiff hereby demands a jury trial on issues triable by a jury.
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22
              RESPECTFULLY SUBMITTED this 1st day of November, 2023.
23
24                                                  /s/ P. Kristofer Strojnik
                                                    P. Kristofer Strojnik (242728)
25                                                  Attorneys for Plaintiff
26
                                               VERIFICATION
27
              I declare under penalty of perjury that the foregoing is true and correct.
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 1                       DATED this 1st day of November, 2023.
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 5                 ______________________
                   Theresa Marie Brooke
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